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                       UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,            )
                                     )
            v.                       )     Case No. 22-cr-116 (CJN)
                                     )
DAVID JOSEPH GIETZEN                 )



                                    ORDER


      THIS MATTER is before the Court on the Defendant’s motion to change venue.
For good cause shown, Defendant’s motion to change venue is granted
.


SO ORDERED, This the __ day of ______________________, 2023.




                                           _________________________________
                                           Carl J. Nichols
                                           United States District Judge
